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         ***EXECUTIONS SCHEDULED FOR DECEMBER 10 AND 11, 2020***

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE FEDERAL                         )
BUREAU OF PRISONS’ EXECUTION                         )
PROTOCOL CASES,                                      )
                                                     )
Lead case:     Roane et al. v. Barr et al.           )
                                                     )
                                                     )       Case No. 19-mc-00145-TSC
                                                     )
THIS DOCUMENT RELATES TO:                            )
                                                     )
ALL CASES                                            )
                                                     )
Bourgeois v. United States Department                )
of Justice, et al., No. 12-cv-0782-TSC               )

        STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
     MOTION FOR PRELIMINARY INJUNCTION BARRING THE EXECUTION
       OF PLAINTIFFS BRANDON BERNARD AND ALFRED BOURGEOIS

       In accordance with Local Rule 7(a), Plaintiffs Brandon Bernard and Alfred Bourgeois

submit this statement of points and authorities in support of their motion for a preliminary

injunction.

                                        BACKGROUND

       On July 25, 2019, after considering the matter for eight years, the Bureau of Prisons

(BOP) announced a new execution protocol for carrying out federal death sentences using the

barbiturate pentobarbital, along with an initial notice that the Government intended to execute

Mr. Bourgeois on January 13, 2020. Defendants issued an amended notice of the execution date

on August 22, 2019. Shortly thereafter, Mr. Bourgeois, along with four other plaintiffs who were

at that time scheduled to be executed in December 2019 and January 2020, sought a preliminary

injunction barring their respective executions while the legality of the new protocol was
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adjudicated. Mr. Bourgeois and his co-plaintiffs sought relief on several grounds, including in

relevant part that the 2019 Protocol violates the Federal Death Penalty Act (FDPA), 18 U.S.C. §

3591 et seq., which does not permit the creation of a uniform federal protocol for the

implementation of death sentences without reference to state policy.

        In November 2019, this Court granted a preliminary injunction, finding that Mr.

Bourgeois and his co-plaintiffs were likely to succeed on the merits of their claim that the 2019

Protocol violates the FDPA, that the plaintiffs would suffer irreparable harm in the absence of

relief, and that the equities tipped in the plaintiffs’ favor. See Dkt. #50.

        In February 2020, Mr. Bernard filed a complaint seeking declaratory and injunctive relief

against Defendants. Mr. Bernard’s action was consolidated with this master case.

        On April 7, 2020, a divided panel of the D.C. Circuit vacated the preliminary injunction.

See In re Fed. Bureau of Prisons’ Execution Protocol Cases, 955 F.3d 106 (D.C. Cir. 2020) (per

curiam) (“In re FBOP”). In a per curiam opinion joined by Judges Katsas and Rao, and over a

dissent from Judge Tatel, the court held that the plaintiffs’ FDPA claim failed on the merits. See

id. at 112 (per curiam). Judges Katsas and Rao reached this conclusion for different reasons,

which they each explained in separate concurrences. See id. at 113-121 (Katsas, J., concurring);

id. at 129-133 (Rao, J., concurring). The D.C. Circuit denied the plaintiffs’ petition for rehearing

en banc on May 15, and the Supreme Court denied their petition for writ of certiorari on June 29.

See Bourgeois v. Barr, No. 19A1050, 2020 WL 3492763 (U.S. June 29, 2020) (mem.).

        On June 1, 2020, in accordance with the briefing schedule ordered by this Court,

Plaintiffs to these consolidated cases filed an Amended Complaint in this Court raising numerous

claims for relief under various constitutional and statutory provisions. In relevant part, Plaintiffs

alleged that the 2019 Protocol violates the FDPA by failing to comply with state execution


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protocols and procedures, including those codified in state law. 1 On September 20, 2020, this

Court granted summary judgment to Defendants despite agreeing with the merits of Plaintiffs’

FDPA claim. See Dkt. #261. The Court noted two important discrepancies between the

government’s 2019 Protocol and several of the state statutes at issue: some state statutes dictate

execution methods that differ from the 2019 Protocol (such as by giving the prisoner a choice of

electrocution or lethal injection), while others dictate important aspects of the execution process

(such as the scheduling of the execution or a requirement that multiple physicians attend it). See

id. at 26-28. This Court recognized that the FDPA requires the government to follow both types

of statutes, but nevertheless granted summary judgment to Defendants based solely on

Defendants’ non-binding “notice” that they intend to comply or will consider complying with

those specific requirements – and therefore, the Court concluded that the parties did not present a

live controversy or actual disagreement with respect to the FDPA claim. Id. at 27, 30.

       Plaintiffs thereafter filed a motion asking this Court to alter or amend its judgment on the

FDPA claim, and appealed to the D.C. Circuit immediately following this Court’s denial of that

motion. In light of fast-approaching execution dates for Plaintiffs Orlando Hall (November 19)

and Mr. Bernard (December 10), the D.C. Circuit expedited briefing on the appeal and heard oral

argument on November 16. The D.C. Circuit issued an opinion on November 18, 2020, holding

in relevant part that the district court did not err in granting summary judgment for the

government on Plaintiffs’ FDPA claim. This holding was limited to agreement with the district

court’s conclusion “that there was no conflict in this case, either because the government had



   1
    On June 15, while Plaintiffs’ claims remained pending and long before completion of the
Court-ordered briefing schedule, the government set new execution dates in July and August
against four of the Plaintiffs in this case. Neither Mr. Bernard nor Mr. Bourgeois received a new
execution date at that time.

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committed to complying with the state statutes at issue or because no Plaintiff had requested to

be executed in accordance with them.” In re Fed. Bureau of Prisons’ Execution Protocol Cases,

— F.3d —, No. 20-5329, 2020 WL 6750375, at *11 (D.C. Cir. Nov. 18, 2020) (citing Dkt. #261

at 30-31). The D.C. Circuit purposefully declined “to engage in a line-drawing exercise about

whether a statute setting the time of execution is a procedure that implements ‘the sentence in the

manner prescribed by the law of the State in which the sentence is imposed.’” Id. (quoting 18

U.S.C. § 3596(a)).

       On October 16, 2020, Defendants scheduled Mr. Bernard’s execution for December 10,

2020, providing him with only 55 days’ notice of his execution. On November 20, 2020,

Defendants scheduled Mr. Bourgeois’s execution for December 11, 2020, providing him with

only 21 days’ notice of his execution. Mr. Bernard and Mr. Bourgeois now move for a

preliminary injunction to prevent Defendants from executing them in violation of the FDPA as

made enforceable by the Administrative Procedure Act. See 5 U.S.C. § 706(2)(A) (requiring

court to “hold unlawful” and “set aside” agency action that is “not in accordance with law”).

                                           ARGUMENT

       “The purpose of a preliminary injunction is merely to preserve the relative positions of

the parties until a trial on the merits can be held.” Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (quotation marks omitted). The moving party must

show (1) that he is likely to succeed on the merits; (2) that he is likely to suffer irreparable harm

in the absence of relief; (3) that the balance of the equities weigh in his favor; and (4) that an

injunction is in the public interest. See, e.g., League of Women Voters of U.S. v. Newby, 838 F.3d

1, 6 (D.C. Cir. 2016). That standard is met here.




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   I.      Plaintiffs Bernard and Bourgeois Are Likely To Succeed On The Merits Of
           Their FDPA Claim

        In 1994, Congress enacted the FDPA, which dictates that federal executions are to be

implemented “in the manner prescribed by the law of the State in which the sentence is

imposed.” 18 U.S.C. § 3596(a). “The FDPA and the Attorney General’s regulations remain the

federal law governing executions by the United States.” In re Fed. Bureau of Prisons’ Execution

Protocol Cases, No. 20-5329, 2020 WL 6750375, at *1 (D.C. Cir. Nov. 18, 2020) (citing

Manner of Federal Executions, 854 Fed. Reg. 47,324, 47,325-26 (2020)).

        The sentences of Mr. Bernard and Mr. Bourgeois were imposed in the state of Texas. As

relevant here, Texas law provides that “[a]n execution date may not be earlier than the 91st day

after the date . . . [of] the order setting the execution date.” Tex. Code Crim. Proc. art. 43.141(c).

The Texas legislature adopted this requirement in the interest of promoting transparency and fair

process, and further to facilitate an opportunity for the prisoner and his attorneys to file any

appropriate legal challenges. See 2015 Texas Senate Bill No. 1071, Texas Eighty-Fourth

Legislature (“Requiring sufficient notice of the scheduling of execution dates will ensure that

defendants have an opportunity to fairly prepare for the impending execution.”); In re Carter,

541 S.W.3d 743, 744–45 (Tex. Crim. App. 2017) (Newell, J., concurring) (“The Texas

Legislature intended Article 43.141 to provide death-penalty defendants with a significant time

period within which to prepare final pleadings in either state or federal court. It clearly intended

these notice requirements to facilitate that objective.”); Letter from William C. Hubbard,

President of the American Bar Association, to Chairpersons of the Texas Senate Committee on

Criminal Justice and House Committee on Criminal Jurisprudence (March 30, 2015) (“2015

ABA Letter”) (“[T]he period of time between the setting of the date and the actual execution is




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critical for defense counsel to raise certain significant legal issues and continue to zealously

represent his or her client.”).

        This element of Texas law governing the implementation of a sentence of death applies to

Mr. Bernard and Mr. Bourgeois by virtue of 18 U.S.C. § 3596(a). As this Court has previously

recognized, “[t]he D.C. Circuit’s prior decision in this litigation requires Defendants to adhere to

[state] statutes [that conflict with the 2019 Protocol]”:

        As Judge Rao wrote, while “formal state law often specifies little more than the
        method of execution, the federal government is nonetheless bound by the FDPA to
        follow the level of detail prescribed by state law.” Execution Protocol Cases, 955
        F.3d at 133. Judge Tatel found that the FDPA “best understood, requires federal
        executions to be carried out using . . . procedures set forth not just in [state] statutes
        and regulations, but also in protocols issued by state prison officials.” Id. at 146.

Dkt. #261 at 28. Accordingly, this Court has understood the FDPA specifically to require

compliance with state statutory requirements that (1) “two physicians . . . determine when death

supervenes” (Ga. Code § 17-10-41); (2) equipment used in executions is appropriately sterilized

(Ark. Code § 5-4-617(f)); (3) execution drugs are obtained from facilities meeting certain

accreditation or registration requirements (Ark. Code § 5-4-617(d)); and (4) executions take

place “at any time after the hour of 6 p.m. on the day set for the execution” (Tex. Code of Crim.

Proc. Art. 43.14(a)). Id. at 27-28. In so holding, this Court has explained that these state statutes

are part of the “implementation of the death sentence”:

        [I]n discussing her understanding of the word “implementation,” Judge Rao
        explained that “the ordinary meaning of ‘implementation of the death sentence’
        includes more than ‘inflicting the punishment of death’ . . . [it includes] additional
        procedures involved in carrying out the sentence of death.” Execution Protocol
        Cases, 955 F.3d at 133 (“the term ‘implementation’ is commonly used to refer to a
        range of procedures and safeguards surrounding executions”). She also explained
        that such “implementation” would include details such as the time, date, place,
        and method of execution, all of which can fairly be read to include the state




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       statutes Plaintiffs have identified. Id. at 134 (quoting Implementation of Death
       Sentences in Federal Cases, 58 Fed. Reg. 4,898, 4,901–02 (Jan. 19, 1993)).

Dkt. #261 at 29 (emphasis added); see also id. at 29-30 (“Defendants must comply with the

Texas provision because it is incorporated into the FDPA by virtue of D.C. Circuit precedent.”

(citing In re FBOP, 955 F.3d at 133 (Rao, J., concurring) (“[T]he federal government is [] bound

by the FDPA to follow the level of detail prescribed by state law.”)). 2 The Court granted

summary judgment for Defendants on Plaintiffs’ FDPA claim not because it agreed with

Defendants’ position that they were not bound by applicable state laws, but instead because the

factual record revealed no live controversy regarding the state laws at issue. See id. at 30-31.

       This Court has previously disagreed with Defendants’ contention that they need to

comply with “only those state procedures ‘that effectuate death.’” Id. at 29 (quoting Defs. Opp’n

to LeCroy Mot. at 6-7 (citing In re FBOP, 955 F.3d at 151 (Tatel, J., dissenting))). This Court

has also explained that “[t]he court is not bound by other Circuits’ interpretation of D.C. Circuit

precedent and cannot square their limited reading with the language in either Judge Rao or Judge

Tatel’s opinions.” Id. at 28-29 (citing Peterson v. Barr, 965 F.3d 549, 554 (7th Cir. 2020);

United States v. Mitchell, No. 20-9909, 2020 WL 4815961 (9th Cir. Aug. 19, 2020)). But in any

event, the requirements of Tex. Code Crim. Proc. art. 43.141(c) are “procedures that effectuate

death” under any reasonable understanding. Like Tex. Code of Crim. Proc. Art. 43.14(a), which

governs the time of day at which death is to be effectuated, Tex. Code Crim. Proc. art. 43.141(c)




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     Indeed, as Judge Rao noted, the FDPA contains “one exception to the general rule that the
federal government must follow state law—the federal government may choose state or federal
facilities for executions.” In re FBOP, 955 F.3d at 134-35 (emphasis added). Given that the
FDPA otherwise contemplates that state laws setting the place of execution concern the
“implementation” of death sentences, state laws setting the time of execution surely fall within
the same category.

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is intended to promote fairness, transparency, and an opportunity for the condemned inmate and

his attorney to raise any appropriate legal challenges. See id. at 30 (“[T]he Texas statute governs

when death is to be effectuated and prevents the state from rescheduling an execution . . . despite

the pendency of any remaining legal challenges and without providing notice to the prisoners’

attorneys . . . .”); In re Carter, 541 S.W.3d at 744–45. Without appropriate notice, Plaintiffs can

be executed before they have the opportunity to properly develop clemency applications, or

while they have potentially meritorious claims still pending in court. 3 Certain claims cannot be

raised until a prisoner receives notice of his execution date, such as incompetence to be executed

or claims related to the constitutionality of the lethal injection protocols to be used at that

prisoner’s particular execution that may deemed untimely if brought earlier in the case. Notice of

an execution date is thus no less a part of the execution process than the determination following

an execution that the prisoner is in fact dead. See Dkt. #261 at 30 (“The Georgia statute requiring

two physicians to certify when death supervenes was no doubt enacted to ensure that death has

been effectuated.”). As the American Bar Association explained in urging the adoption of this




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     At the time of this filing, Mr. Bourgeois is under a stay of execution order from the District
Court for the Southern District of Indiana based on a claim of intellectual disability. Bourgeois v.
Warden, No. 219 CIV 00392, 2020 WL 1154575 at *6 (S.D. Ind. Mar. 10, 2020) rev’d and
remanded subnom. Bourgeois v. Watson, 977 F.3d 620 (7th Cir. 2020). A panel for the Seventh
Circuit reversed and remanded the district court’s stay order, 977 F.3d 620, but the mandate has
not yet issued and the case remains pending for review by the en banc court.

   Mr. Bernard filed yesterday a § 2241 habeas petition in the District Court for the Southern
District of Indiana, along with a motion to stay his execution. Bernard v. Warden, No. 2:20-cv-
00616 (S.D. Ind. filed Nov. 24, 2020). That petition raises a Brady claim based on Mr. Bernard’s
discovery in 2018 that the government had never disclosed the existence of a law enforcement
gang expert's opinion about Brandon's extremely low status in the youth gang to which all the
defendants belonged. Mr. Bernard filed his § 2241 petition after the Fifth Circuit held in
September 2020 that Mr. Bernard was not entitled to file a successive § 2255 petition. In re
Bernard, 826 F. App’x 356, 358 (5th Cir. 2020).

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legislation, “[w]ith a decision as significant and irreversible as imposing the death penalty, it is

critical that due process and fairness are ensured at every stage in the process, including in

setting the date for execution.” 2015 ABA Letter.

   II.      Plaintiffs Bernard and Bourgeois Will Suffer Irreparable Harm Without An
            Injunction

         To constitute irreparable harm, “the harm must be certain and great, actual and not

theoretical, and so imminent that there is a clear and present need for equitable relief to prevent

irreparable harm,” and it “must be beyond remediation.” Newby, 838 F.3d at 7-8 (citing

Chaplaincy, 454 F.3d at 297) (internal quotation marks and brackets omitted). Mr. Bernard and

Mr. Bourgeois will be irreparably harmed if they are executed on December 10, 2020 and

December 11, 2020, respectively, because those executions will be contrary to law and will

deprive Mr. Bernard and Mr. Bourgeois of their interests in preparing for their executions, in

fully litigating their pending claims, and in their lives. The harm they will experience therefore is

“categorically irreparable.” Nken v. Holder, 556 U.S. 418, 435 (2009).

         Permitting the government to proceed with an execution after disregarding Texas’s

statutory procedure requiring ninety days between notice of an execution and the execution itself

will irreparably harm Mr. Bernard and Mr. Bourgeois. It is “abundantly clear” that Mr. Bernard

and Mr. Bourgeois have a constitutionally protected interest in their own lives. Ohio Adult

Parole Authority v. Woodard, 523 U.S. 272, 288 (1998) (“There is . . . no room for legitimate

debate about whether a living person has a constitutionally protected interest in life.”) (Stevens,

J., concurring in part and dissenting in part). Depriving Mr. Bernard and Mr. Bourgeois of the

full amount of time to which they are entitled to live between receiving their execution warrants

and being executed irreparably harms their interest in their own lives. See id. at 288 (“A prisoner

under a death sentence remains a living person and consequently has an interest in his life.”)

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(O’Connor, J., concurring in part and concurring in the judgment); see also, e.g., Cruzan by

Cruzan v. Dir., Mo. Dep’t Health, 497 U.S. 261, 291 (1990) (“It cannot be disputed that the Due

Process Clause protects an interest in life”); Britell v. United States, 372 F.3d 1370, 1383 (Fed.

Cir. 2004) (recognizing a state interest in the life of babies who were born with anencephaly,

even though they were not expected to survive for long).

       For Mr. Bourgeois, moreover, Defendants’ failure to comply with Texas law as required

by the FDPA has deprived him of the opportunity to seek clemency from the incoming

President-Elect. Had Defendants complied with Texas law when, on November 20, 2020, they

set Mr. Bourgeois’ execution date, that date would be set for February 2021 at the earliest. Mr.

Bourgeois would therefore be able to seek clemency from a President who stated during his

campaign that he favors the elimination of the federal death penalty. See

https://joebiden.com/justice/# (“Biden will work to pass legislation to eliminate the death penalty

at the federal level . . . These individuals should instead serve life sentences without probation or

parole.”).

       A second type of irreparable harm stems from Mr. Bernard’s and Mr. Bourgeois’s

reliance interest in knowing that they cannot be executed without at least 90 days’ notice, and

thus, the Government’s unilateral abrogation of that interest – an interest with which the

Government complied during the setting of Mr. Bourgeois’s earlier execution date for January

13, 2020, or 172 days from the announcement of the execution on July 25, 2019. See U.S. Dept.

of Justice, Federal Government to Resume Capital Punishment After Nearly Two Decade Lapse

(July 25, 2019), available at https://www.justice.gov/opa/pr/federal-government-resume-capital-

punishment-after-nearly-two-decade-lapse. The current execution dates violate that same

interest. “[W]hen a prisoner sentenced by a court to death is confined in the penitentiary awaiting


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the execution of the sentence, one of the most horrible feelings to which he can be subjected

during that time is the uncertainty during the whole of it … as to the precise time when his

execution shall take place.” In re Medley, 134 U.S. 160, 172 (1890). The Texas statute leaves but

little uncertainty for a prisoner sentenced to death, as that prisoner can rest assured knowing he

will not be executed for at least 90 days after he receives an execution warrant. This 90-day time

period is designed to allow a prisoner time to prepare for his execution and for his attorneys to

raise any appropriate legal challenges.

       For Mr. Bourgeois, assuming that he is unsuccessful on en banc review, see supra note 2,

that 90-day period is vital to allow him time to prepare a competent petition for writ of certiorari

to the United States Supreme Court based on his claim that he is intellectually disabled and, thus,

constitutionally barred from being executed.

       For Mr. Bernard, the unlawfully shortened notice period already has compelled him to

submit a clemency application earlier this month based largely on interviews with relevant

witnesses that were conducted years ago. Mr. Bernard’s representatives are actively seeking to

supplement that application with more up-to-date information regarding, among other things, the

positive and important role Mr. Bernard has continued to play in the lives of his friends and

family members even during the intervening years of his incarceration, and his acts of kindness

and generosity during that period. While Mr. Bernard’s pending application makes a substantial

case for mercy—as evidenced by the numerous press reports highlighting the need for it in his

case, 4 and the more than 16,000 people who have sent letters to President Trump in support of

clemency for Mr. Bernard—the unlawfully shortened notice period further hampers necessary



   4
   See, e.g., The Prosecutor Who Put Brandon Bernard On Death Row Has Changed Her
Mind. Is It Too Late?, Relevant Magazine (November 24, 2020).

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fact-gathering already made substantially more difficult by the ongoing pandemic. With more

time, Mr. Bernard’s counsel would be able to build additional public support for Mr. Bernard’s

clemency. In addition, Defendants’ disregard of the Texas statute requires Mr. Bernard’s § 2241

petition to be litigated with far less time than Mr. Bernard would otherwise have.

          In sum, by disregarding the Texas statute and not allowing Mr. Bernard and Mr.

Bourgeois the full 90 days to which they should be entitled to prepare for their executions,

Defendants are not only interfering with their opportunity to raise legal challenges, but are also

subjecting Mr. Bernard and Mr. Bourgeois to “immense mental anxiety amounting to a great

increase of [their] punishment.” Medley, 134 U.S. at 172.

   III.      The Balance Of The Equities And Public Interest Weigh In Favor Of A
             Preliminary Injunction

          The balance of equities and public interest factors “merge when the Government is the

opposing party.” Nken, 556 U.S. at 435; see also Fla. EB5 Investments, LLC v. Wolf, 443 F.

Supp. 3d 7, 13 (D.D.C. 2020). Here, these two factors favor a preliminary injunction. This Court

has already decided that the balance of the equities favors Plaintiffs under these circumstances

because “the potential harm to the government caused by a delayed execution is not substantial”

and “[t]he public interest is not served by executing individuals before they have had the

opportunity to avail themselves of legitimate procedures to challenge the legality of their

executions.” Dkt. #50 at 14.

          These conclusions are consistent with the principle that “[t]he public interest is . . . served

when administrative agencies comply with their [legal] obligations.” N. Mariana Islands v.

United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009). By contrast, “[t]here is generally no public

interest in the perpetuation of unlawful agency action.” Newby, 838 F.3d at 12. In the capital-

punishment context, “the public’s interest in seeing justice done lies not only in carrying out the

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sentence imposed years ago but also in the lawful process leading to possible execution.”

Montgomery v. Barr, No. 20-3261, 2020 WL 6799140, at *11 (D.D.C. Nov. 19, 2020); see also

Harris v. Johson, 323 F. Supp. 2d 797, 810 (S.D. Tex. 2004) (“confidence in the humane

application of the governing laws of the State must be in the public’s interest”). Accordingly,

courts have recognized an “important public interest in the humane and constitutional application

of [a] lethal injection statute.” Nooner v. Norris, No. 06-00110, 2006 WL 8445125, at *4 (E.D.

Ark. June 26, 2006); see also In re Ohio Execution Protocol Litig., 840 F. Supp. 2d 1044, 1059

(S.D. Ohio 2012); Cooey v. Taft, 430 F. Supp. 2d 702, 708 (S.D. Ohio 2006). When the

government decides to take a life, the public interest demands that it do so in a considered and

deliberate manner. The seriousness of a person’s offenses of conviction does not alter that

analysis.

       The government has no legitimate interest in carrying out an execution using illegal

procedures. Indeed, by doing so the government would compromise the public interest, among

other things by undermining public confidence in the “lawful process leading to possible

execution.” See Montgomery, 2020 WL 6799140, at *11. Furthermore, any harm to the

government can easily be eliminated, as Defendants can promptly schedule Mr. Bernard’s and

Mr. Bourgeois’s executions for a later date as soon as they have cured the defects in their

procedures. That cure would further the public interest, which is served when agencies comply

with their procedural obligations under the APA. A preliminary injunction will therefore “not




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substantially injure other interested parties,” the public, or the government. Chaplaincy, 454 F.3d

at 297. To the contrary, the requested injunction will advance the public interest.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs Bernard and Bourgeois respectfully request that the

Court preliminarily enjoin Defendants from proceeding with their executions on December 10

and 11, 2020.


Dated: November 25, 2020                      Respectfully submitted,

                                              /s/ Alex Kursman
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 25, 2020, I caused a true and correct copy of foregoing

to be served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s

August 20, 2019 Order, below is a list of all counsel of record. The names marked with an

asterisk (*) have no email provided on the docket and are no longer with the identified firms.

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